                             Case 3:18-cv-00898-BRM-LHG Document 1-1 Filed 01/23/18 Page 1 of 4 PageID: 12
                                                         Exhibit A to the Complaint
Location: Hillsborough, NJ                                                                             IP Address: 73.194.102.250
Total Works Infringed: 55                                                                              ISP: Comcast Cable
 Work        Hash                                         Site                UTC          Published         CRO App. File   CRO Number
                                                                                                             Date
 1           EA940B8AA781644B98523FD3D1B0B6809C9A5229     Blacked             11/24/2017   11/21/2017        01/04/2018      PA0002069353
                                                                              13:55:10
 2           05D9E9EB431AEF78D0BD2E16B66F558D4839A3BC     Tushy               08/16/2017   08/09/2017        08/17/2017      15732986259
                                                                              15:28:45
 3           06E7F8EA128D13A9DE971A1F9ABF96BFED81099C     Blacked             07/10/2017   07/09/2017        08/17/2017      15732782151
                                                                              21:06:17
 4           084FCDA7C84964DA6E1B05353EE42CFC4B78A5B8     Tushy               05/08/2017   05/06/2017        06/16/2017      PA0002069288
                                                                              13:32:33
 5           14D2C680AA1DD5543C0413431AA079A985B0DC73     Blacked             11/21/2017   10/02/2017        10/10/2017      15894022390
                                                                              03:34:28
 6           17C2B0609BE9B92AE0D1C44F1D6212EA6D1BB636     Vixen               08/15/2017   08/12/2017        08/17/2017      15732986308
                                                                              19:45:10
 7           1A1CA004C58E86F2113AD02995E1387B4A025D32     Blacked             05/20/2017   05/15/2017        06/22/2017      PA0002039283
                                                                              12:05:04
 8           2A6509FEA47222250510958EA5C4731EB3FEDDE3     Blacked             09/23/2017   09/22/2017        10/02/2017      PA0002057455
                                                                              16:35:43
 9           2FE5A77075580DAA4C39306919575DCDAA4749C9     Blacked             05/22/2017   05/20/2017        06/22/2017      PA0002039289
                                                                              11:25:33
 10          30B497F5A2319BD630E2B8B7877A606B5C41E011     Tushy               07/08/2017   07/05/2017        07/06/2017      PA0002041555
                                                                              16:01:13
 11          31577E16E1B68BF13F30BE538E1BAF66E224726A     Tushy               07/31/2017   07/30/2017        08/11/2017      15711086778
                                                                              14:26:35
 12          323ABA20226A452D66399A3CC61AC61F1DD9232B     Tushy               12/08/2017   12/07/2017        12/17/2017      16159649536
                                                                              12:15:15
 13          363F883465ADC6B11D45772C3AEF8E932E3BFF73     Tushy               08/16/2017   08/04/2017        08/17/2017      15732903865
                                                                              15:33:52
 14          3C75DF0338469C899BB90D1928DCB245E2B3C2CF     Blacked             06/09/2017   05/25/2017        06/22/2017      PA0002039290
                                                                              10:44:25
 15          3D975982F1D32ABB38E851EAA39614D3ADCD8FB2     Blacked             12/03/2017   12/01/2017        12/17/2017      16159649724
                                                                              00:45:46
 16          48F0D5FBC0D37A6E170636BCB41E5C01D08284A4     Vixen               08/23/2017   08/17/2017        08/24/2017      15894022586
                                                                              13:00:15
                  Case 3:18-cv-00898-BRM-LHG Document 1-1 Filed 01/23/18 Page 2 of 4 PageID: 13
Work   Hash                                       Site        UTC          Published    CRO App. File   CRO Number
                                                                                        Date
17     4B321B55536C35EC1609EE2AB4EFB520A5CFA67D   Vixen       07/06/2017   07/03/2017   07/06/2017      15584691415
                                                              13:33:41
18     4FF62836FC3C509617EE5DE7658EAABE045C0BA1   Tushy       09/16/2017   09/13/2017   09/25/2017      15894022635
                                                              19:40:29
19     56BB70E2C34826294614E489DD23500BD0D18C66   Tushy       05/22/2017   05/21/2017   06/22/2017      PA0002039282
                                                              11:29:19
20     5D9F928A0B3ABCCDCED5FA4D82D5F65F3F3E5FFB   Vixen       08/11/2017   07/28/2017   08/10/2017      PA0002046871
                                                              16:01:55
21     60C95D0BE2768F19B3B85DDBECABD4D5B1D721BF   Blacked     09/24/2017   06/19/2017   07/06/2017      15584064069
                                                              16:28:28
22     62DEBABF5C6E7174BC6D60794659DE722532235B   Tushy       07/22/2017   07/20/2017   08/11/2017      PA0002046869
                                                              17:53:22
23     65CF8DA2D031F334F39B20014B15DA107B9EAA15   Blacked     08/15/2017   08/08/2017   08/17/2017      15732904191
                                                              10:38:09
24     6671533EE8277923DF4254534389F8630C5BF901   Blacked     11/20/2017   11/16/2017   11/18/2017      16020392782
                                                              23:50:31
25     66882F76290D2AB7DD93C95E6BFA4DE73EB4E64F   Tushy       09/05/2017   06/15/2017   07/06/2017      15583057198
                                                              13:45:08
26     68661CD1EE1348C45DC3065FE720C0C5DB7F5370   Tushy       11/24/2017   11/22/2017   01/04/2018      PA0002069339
                                                              14:10:44
27     7186B894DFED282141789D052E4DDCD09764FAA3   Tushy       07/19/2017   07/15/2017   08/10/2017      15711014757
                                                              10:28:30
28     729C3815122E9D62C4F62EC6CAD5CA5B5EBB95F9   Blacked     07/31/2017   07/29/2017   08/11/2017      PA0002046872
                                                              13:55:46
29     771C669842BE814DA19F886EDF5E759B0EC4BF37   Blacked     07/05/2017   07/04/2017   07/06/2017      15584063685
                                                              19:14:35
30     78F5DACFBD414605C47BD190F5C421E65F70B396   Tushy       07/19/2017   07/10/2017   08/17/2017      15732782072
                                                              10:27:31
31     7AA9EE0B623B3876BDBBB4854D311BA014697009   Blacked     11/21/2017   11/11/2017   11/21/2017      16016503414
                                                              03:47:23
32     7ABC944228479DD7BDA25CB988228397BA90010D   Blacked     09/05/2017   09/02/2017   09/07/2017      PA0002052847
                                                              13:02:01
33     84DDAF495CE4C1962249B99CBF02A937A7AF13E7   Vixen       05/15/2017   05/14/2017   06/22/2017      PA0002039297
                                                              14:26:03
34     8AD4B241180853A56EF25F7FEFE3F73F9A6EA01B   Vixen       06/19/2017   06/13/2017   07/06/2017      15584691589
                                                              13:17:55
                 Case 3:18-cv-00898-BRM-LHG Document 1-1 Filed 01/23/18 Page 3 of 4 PageID: 14
Work   Hash                                       Site       UTC          Published    CRO App. File   CRO Number
                                                                                       Date
35     A2C87322636F63116A37FF787A2288CF1B784CC7   Vixen      09/12/2017   09/11/2017   09/20/2017      PA0002052839
                                                             21:19:48
36     A5DAB5C75BEE5E7712B44AB312CC175F0E036C7B   Blacked    09/18/2017   09/17/2017   09/25/2017      15894023110
                                                             20:42:22
37     AB6FFB0FD899B425F25C5D577CC4811AF5EC369B   Blacked    07/22/2017   07/19/2017   08/11/2017      PA0002046876
                                                             17:59:53
38     B0FE13ECF5F84AEAC8C53B134AC336CFB843CF0D   Blacked    10/30/2017   10/27/2017   11/15/2017      16016503839
                                                             13:07:10
39     B316A7B2BA822FD11A7D2D2733FE8293C9BE17DC   Tushy      06/09/2017   06/05/2017   07/06/2017      15583057012
                                                             10:39:49
40     BBD8C583C0F2F81AC5446E3B871C7F25543D169D   Blacked    08/30/2017   08/28/2017   09/07/2017      PA0002052848
                                                             19:10:53
41     BC570785D1C924C2FE8D1B5812B987DEC89FFA31   Vixen      07/24/2017   07/23/2017   08/10/2017      PA0002046877
                                                             18:01:08
42     C28A866375FF6CB8933EE66D5D4642164AF0A438   Tushy      06/26/2017   06/25/2017   07/06/2017      15584063333
                                                             21:02:46
43     C4D962D93D3A28A8A1E03974E4AB29F4BF9E8331   Vixen      06/09/2017   06/08/2017   07/06/2017      15584691637
                                                             11:05:17
44     CB52F9845A15DCB4D40F0CDD424990FB14DEC188   Blacked    07/22/2017   07/14/2017   08/11/2017      PA0002046878
                                                             17:53:59
45     CFD8561C6C264CCE97E1895E41C6F280B65A0A7E   Blacked    11/21/2017   06/14/2017   07/06/2017      15584064117
                                                             03:40:45
46     D15DC5C02BBAC6429D7C3F2AAAD1F90312A0CC33 Tushy        08/24/2017   08/24/2017   08/24/2017      PA0002052837
                                                             18:31:52
47     D4E2A854B0814D717B082BDE84BDE04FC1FEA8E9   Blacked    09/12/2017   09/12/2017   09/20/2017      PA0002052846
                                                             20:32:51
48     D513F1B4A7C6B72B1F1CE73FCC38227A6251E4CA   Blacked    06/26/2017   06/24/2017   07/06/2017      15584064021
                                                             20:59:26
49     DF2F0748668CCE6590B401717632E8A36D31A48F   Tushy      07/03/2017   06/30/2017   07/06/2017      15584063421
                                                             13:00:41
50     DF49DCAF5D121AA71B94F1812A4E67CD44CAB73B   Tushy      09/11/2017   09/08/2017   09/20/2017      PA0002052841
                                                             02:19:01
51     E13DF1C4B0B6D03FB52E1B5B4A384F331B4EA5C1   Blacked    06/12/2017   06/09/2017   07/06/2017      15584064165
                                                             13:27:12
52     E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE   Blacked    08/15/2017   08/13/2017   08/17/2017      15732986356
                                                             10:38:20
                 Case 3:18-cv-00898-BRM-LHG Document 1-1 Filed 01/23/18 Page 4 of 4 PageID: 15
Work   Hash                                       Site       UTC          Published    CRO App. File   CRO Number
                                                                                       Date
53     EECBC957C07B74E8D2C3EDDF2447E1E531CFB050   Tushy      06/15/2017   06/10/2017   07/06/2017      15583057070
                                                             12:19:18
54     F389B96714D70B96EE69FD764815AEA8A809A07F   Tushy      12/08/2017   11/27/2017   01/04/2018      PA0002069335
                                                             12:17:40
55     F4D697D4CD5A5F484EB93A61F939FD0A7CC52A1F   Blacked    07/03/2017   06/29/2017   07/06/2017      15584063973
                                                             13:02:44
